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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------- X
                                                             :
                                                             :   No. 1:25-md-03143-SHS-OTW
IN RE: OPENAI, INC. COPYRIGHT                                :
INFRINGEMENT LITIGATION                                      :   Hon. Sidney H. Stein
                                                             :   Hon. Ona T. Wang
                                                             :
------------------------------------------------------- X
                                                             :
THIS DOCUMENT RELATES TO:                                    :
                                                             :
Case No. 1:23-cv-11195-SHS-OTW                               :
Case No. 1:24-cv-03285-SHS-OTW                               :
Case No. 1:24-cv-04872-SHS-OTW                               :
                                                             :
------------------------------------------------------------ X


    OPENAI’S AMENDED ANSWER TO DAILY NEWS PLAINTIFFS’ COMPLAINT
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       Pursuant to Federal Rule of Civil Procedure 15, Defendants OpenAI, Inc., OpenAI LP, 1

OpenAI GP, LLC, OpenAI, LLC, OpenAI OpCo, LLC, OpenAI Global, LLC, and OAI

Corporation, LLC 2 (collectively, “OpenAI”), by and through the undersigned counsel, submit the

following answer to Plaintiffs Daily News, LP, Chicago Tribune Company, LLC, Orlando Sentinel

Communications Company, LLC, Sun-Sentinel Company, LLC, San Jose Mercury-News, LLC,

DP Media Network, LLC, ORB Publishing, LLC and Northwest Publications, LLC’s (collectively,

“Plaintiffs”) Complaint.

       OpenAI states that the headings and sub-headings throughout the Complaint do not

constitute well-pleaded allegations of fact and, therefore, require no response. To the extent a

response is deemed required, OpenAI denies the allegations contained in the Complaint’s headings

and sub-headings.

       OpenAI denies all allegations in the Complaint that are not explicitly admitted and

otherwise answers as follows:

                    I.      RESPONSE TO NATURE OF THE ACTION 3

       1.      OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs and about Microsoft, and on that basis denies them. OpenAI

admits that OpenAI, Inc. is a Delaware nonprofit corporation. OpenAI denies the remaining

allegations of this paragraph.

       2.      To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations



1
  OpenAI LP is now known as OpenAI OpCo, LLC.
2
  OAI Corporation, LLC converted in September 2023 from a limited liability company to a
corporation named OAI Corporation.
3
  OpenAI neither admits nor denies the contents of the various headings and subheadings in the
complaint, which are reproduced herein solely for convenience.

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and on that basis denies them. OpenAI admits that it uses computers and employs programmers

and other technical employees to build and operate its products. OpenAI admits that computers

contain chips and require electricity to operate. OpenAI admits that it pays for the computers,

electricity, and programmers and other technical employees it uses to build and operate its

products. OpenAI admits that it pays for the facilities in which it builds and operates its products.

OpenAI denies any remaining allegations of this paragraph.

       3.      To the extent the allegations of this paragraph purport to quote from portions of a

publicly available written response to a committee inquiry, the full text of that response speaks for

itself. To the extent the allegations of this paragraph purport to summarize or characterize or are

inconsistent with the full text of the response, OpenAI denies those allegations. OpenAI denies

any remaining allegations of this paragraph.

       4.      OpenAI admits that it believes that training AI models using publicly available

internet materials is fair use, as supported by longstanding and widely accepted precedents.

OpenAI denies the remaining allegations of this paragraph.

       5.      OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       6.      OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs and about Microsoft Corporation, and on that basis denies them.

OpenAI denies the remaining allegations of this paragraph.

       7.      OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs, and on that basis denies them. OpenAI denies the remaining

allegations of this paragraph.




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       8.      OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       9.      OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       10.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       11.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       12.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       13.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs and about Microsoft, and on that basis denies them. OpenAI

admits that the models that power ChatGPT are developed using three primary sources of

information: (1) information that is publicly available on the internet; (2) information that it

partners with third parties to access; and (3) information that its users or human trainers and

researchers provide or generate. OpenAI denies the remaining allegations of this paragraph.

       14.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Microsoft, and on that basis denies them. OpenAI admits that it believes

that training AI models using publicly available internet materials is fair use, as supported by

longstanding and widely accepted precedents. OpenAI denies the remaining allegations of this

paragraph.

       15.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs, and on that basis denies them. OpenAI admits that Article I,



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Section 8, Clause 8 of the United States Constitution grants Congress the power “[t]o promote the

Progress of Science and useful Arts, by securing for limited Times to Authors and Inventors the

exclusive Right to their respective Writings and Discoveries.” To the extent the allegations of this

paragraph purport to summarize or characterize or are inconsistent with that Clause, OpenAI

denies those allegations. OpenAI denies the remaining allegations of this paragraph.

       16.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs and Microsoft, and on that basis denies them. OpenAI admits

that OpenAI, Inc. is a Delaware nonprofit corporation. OpenAI admits that its valuation is over

$90 billion. OpenAI denies any remaining allegations of this paragraph.

       17.     OpenAI denies the allegations of this paragraph

                    II.    RESPONSE TO JURISDICTION AND VENUE

       18.     The allegations of this paragraph state a legal conclusion to which no response is

required. To the extent a response is deemed required, OpenAI admits that this action purports to

arise under the copyright laws of the United States, 17 U.S.C. § 101 et seq., and that the Court has

original subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

OpenAI denies any remaining allegations of this paragraph.

       19.     For the purposes of this action, OpenAI does not contest personal jurisdiction.

OpenAI lacks knowledge or information sufficient to admit or deny the allegations of this

paragraph about Microsoft, and on that basis denies them.          OpenAI denies any remaining

allegations of this paragraph.

       20.     For the purposes of this action, OpenAI does not contest venue. OpenAI lacks

knowledge or information sufficient to admit or deny the allegations of this paragraph about

Microsoft. OpenAI denies any remaining allegations of this paragraph.



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                           III.   RESPONSE TO THE PARTIES

       21.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs, and on that basis denies them.

       22.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs, and on that basis denies them.

       23.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs, and on that basis denies them.

       24.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs, and on that basis denies them.

       25.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs, and on that basis denies them.

       26.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs, and on that basis denies them.

       27.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs, and on that basis denies them.

       28.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs, and on that basis denies them.

       29.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them. OpenAI admits that Microsoft committed to a

multi-year, multi-billion-dollar investment in OpenAI. OpenAI admits that Microsoft has a

minority economic interest in OpenAI Global, LLC, a capped profit company. OpenAI denies any

remaining allegations of this paragraph.

       30.     To the extent the allegations of this paragraph are directed at Microsoft, OpenAI

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lacks knowledge or information sufficient to admit or deny those allegations, and on that basis

denies them. OpenAI admits that it has entered into a strategic partnership with Microsoft that

involves compute, commercial, and investment collaboration. To the extent the allegations of this

paragraph purport to quote from a publicly available earnings call, the full text of the earnings call

speaks for itself. To the extent the allegations of this paragraph summarize or characterize or are

inconsistent with that earnings call, OpenAI denies those allegations. . OpenAI denies any

remaining allegations of this paragraph.

       31.     OpenAI admits that OpenAI, Inc., OpenAI LP, OpenAI GP, LLC, OpenAI, LLC,

OpenAI OpCo, LLC, OpenAI Global, LLC, OAI Corporation, and OpenAI Holdings, LLC are

Delaware entities. OpenAI admits that OpenAI, Inc., OpenAI LP, OpenAI GP, LLC, OpenAI,

LLC, OpenAI OpCo, LLC, OpenAI Global, LLC, OAI Corporation, and OpenAI Holdings, LLC

are related entities. OpenAI denies any remaining allegations of this paragraph.

       32.     OpenAI admits that OpenAI, Inc. is a Delaware nonprofit corporation with a

principal place of business in San Francisco, California. OpenAI admits that OpenAI, Inc. was

formed in December 2015. OpenAI denies any remaining allegations of this paragraph.

       33.     OpenAI admits that the entity formerly known as OpenAI LP was formed in 2018,

renamed “OpenAI LP” in 2019, and is now known as OpenAI OpCo, LLC. OpenAI denies the

remaining allegations of this paragraph.

       34.     OpenAI admits that OpenAI GP, LLC is a Delaware limited liability company with

a principal place of business in San Francisco, California. OpenAI admits that OpenAI, Inc. is the

single member of OpenAI GP, LLC. OpenAI admits that OpenAI GP, LLC is a manager of

OpenAI Global, LLC. OpenAI denies any remaining allegations of this paragraph.

       35.     OpenAI admits that OpenAI, LLC is a Delaware limited liability company with a



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principal place of business in San Francisco, California. OpenAI admits that OpenAI, LLC was

formed in September 2020. OpenAI denies any remaining allegations of this paragraph.

        36.    OpenAI admits that OpenAI OpCo, LLC is a Delaware limited liability company

with a principal place of business in San Francisco, California. OpenAI denies the remaining

allegations of this paragraph.

        37.    OpenAI admits that OpenAI Global, LLC is a Delaware limited liability company

with a principal place of business in San Francisco, California. OpenAI admits that Microsoft has

a minority economic interest in OpenAI Global, LLC. OpenAI denies any remaining allegations

of this paragraph.

        38.    Denied.

        39.    OpenAI admits that OpenAI Holdings, LLC is a Delaware limited liability

company with a principal place of business in San Francisco, California. OpenAI admits that

OpenAI, Inc. and Aestas, LLC are members of OpenAI Holdings, LLC. OpenAI admits that

Aestas Management Company, LLC is the sole member of Aestas, LLC. OpenAI admits that

Aestas Management Company, LLC is a Delaware limited liability company. OpenAI denies any

remaining allegations of this paragraph.

                     IV.     RESPONSE TO FACTUAL ALLEGATIONS

A.      Response to The Publishers

        40.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        41.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        42.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

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        43.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        44.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        45.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        46.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        47.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        48.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

        49.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        50.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        51.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

B.      Response to Defendants’ GenAI Products

        1.     Response to A Joint Enterprise Based on Mass Copyright Infringement

        52.    OpenAI admits that OpenAI, Inc. was formed in 2015 as a non-profit artificial

intelligence research company. OpenAI admits that Sam Altman, Greg Brockman, Elon Musk,

Reid Hoffman, Jessica Livingston, Peter Thiel, Amazon Web Services, Infosys, and YC Research

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committed $1 billion to support OpenAI. OpenAI denies any remaining allegations of this

paragraph.

       53.     To the extent the allegations of this paragraph purport to quote from a publicly

available press release, the full text of the press release speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

press release, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.

       54.     OpenAI admits that it announced the creation of OpenAI LP in March 2019.

OpenAI admits that OpenAI LP was a “capped-profit” company. OpenAI admits that OpenAI’s

valuation is more than $90 billion. OpenAI denies any remaining allegations of this paragraph.

       55.     OpenAI admits that GPT-1 and GPT-2 are open-source and available for public

review. OpenAI denies any remaining allegations of this paragraph.

       56.     To the extent the allegations of this paragraph purport to quote from a publicly

released research paper, the full text of that research paper speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

research paper, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.

       57.     To the extent the allegations of this paragraph purport to quote from a publicly

available interview, the full text of that interview speaks for itself. To the extent the allegations of

this paragraph purport to summarize or characterize or are inconsistent with that interview,

OpenAI denies those allegations. OpenAI denies the remaining allegations of this paragraph.

       58.     OpenAI admits that it released ChatGPT in November 2022. OpenAI admits that

ChatGPT recognizes and processes text inputs from a user and generates text outputs in response.



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OpenAI admits that, by April 2024, ChatGPT had more than 100 million users across 185

countries. OpenAI denies the remaining allegations of this paragraph.

       59.     OpenAI admits that OpenAI OpCo, LLC offers products and services powered by

its GPT models to consumers and businesses. OpenAI admits that it offers a business-focused

service called ChatGPT Enterprise. OpenAI admits that it licenses its technology to corporate

clients. OpenAI denies the remaining allegations of this paragraph.

       60.     To the extent the allegations of this paragraph purports to cite a publicly available

press release, the full text of that press release speaks for itself. To the extent the allegations of

this paragraph purport to summarize, characterize, or are inconsistent with that press release,

OpenAI denies those allegations. To the extent the allegations of this paragraph purport to cite a

publicly available news article, the full text of that news article speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

news article, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.

       61.     Denied.

       62.     Denied.

       63.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. To the extent the allegations of this paragraph purport to quote from

a publicly available interview, the full text of that interview speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

interview, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.



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       64.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Microsoft Corporation, and on that basis denies them. OpenAI denies the

remaining allegations of this paragraph.

       65.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Microsoft Corporation, and on that basis denies them. OpenAI admits that

it has worked with Microsoft to build multiple supercomputing systems powered by Azure, which

have been used to train its models. To the extent the allegations of this paragraph purport to quote

from a publicly available speech, the full text of that speech speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

speech, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.

       66.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. To the extent the allegations of this paragraph purport to quote from

a publicly available interview, the full text of that interview speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

interview, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.

       67.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. To the extent the allegations of this paragraph purport to quote from

a publicly available news article, the full text of that news article speaks for itself. To the extent

the allegations of this paragraph purport to summarize or characterize or are inconsistent with that



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news article, OpenAI denies those allegations. To the extent the allegations of this paragraph

purport to quote from a publicly available press release, the full text of that press release speaks

for itself. To the extent the allegations of this paragraph purport to summarize or characterize or

are inconsistent with that press release, OpenAI denies those allegations. OpenAI denies any

remaining allegations of this paragraph.

       68.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. To the extent the allegations of this paragraph purport to quote from

a publicly available research paper, the full text of that research paper speaks for itself. To the

extent the allegations of this paragraph purport to summarize or characterize or are inconsistent

with that research paper, OpenAI denies those allegations.         OpenAI denies any remaining

allegations of this paragraph.

       69.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI admits that it released in beta Internet browsing capabilities

within ChatGPT to ChatGPT Plus users in May 2023. OpenAI denies any remaining allegations

of this paragraph.

       70.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. To the extent the allegations of this paragraph purport to quote from

a publicly available interview, the full text of that interview speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

interview, OpenAI denies those allegations. OpenAI denies any remaining allegations of this



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paragraph.

       71.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. To the extent the allegations of this paragraph purport to quote from

a publicly available interview, the full text of that interview speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

interview, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph. OpenAI denies any remaining allegations of this paragraph.

       2.      Response to How GenAI Models Work

       72.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       73.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies any remaining allegations of this paragraph.

       74.     OpenAI admits that its models are made up of large quantities of numbers called

“parameters.” OpenAI denies the remaining allegations of this paragraph.

       75.     OpenAI admits that its models are computer programs that are developed using

artificial intelligence and machine learning techniques. OpenAI admits that pre-training a model

involves teaching language to a model by showing it a wide range of text, and, utilizing

sophisticated statistical and computational analysis, having it try to predict the word that comes

next in each of a huge range of sentences. OpenAI admits that this process involves breaking text

down into roughly word-length “tokens,” which are then converted into numbers. OpenAI admits

that the model uses the training data to calculate numerical representations of each token’s

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semantic meaning. OpenAI admits that a process known as a “transformer” then allows the model

to understand the context created by surrounding words and sentences, thus enabling an

understanding of a word’s different meanings depending on context.             OpenAI denies any

remaining allegations of this paragraph.

       76.     OpenAI admits that a pre-trained model may be fine-tuned. OpenAI admits that

fine-tuning may involve training a model on additional text.          OpenAI admits that it uses

reinforcement learning from human feedback to make its models safer, more helpful, and more

aligned. OpenAI denies any remaining allegations of this paragraph.

       77.     To the extent the allegations of this paragraph purport to quote from a publicly

available paper, the full text of that paper speaks for itself. To the extent the allegations of this

paragraph purport to summarize or characterize or are inconsistent with that paper, OpenAI denies

those allegations. OpenAI denies the remaining allegations of this paragraph.

       78.     OpenAI admits that its models may use Retrieval Augmented Generation. OpenAI

admits that this process involves retrieving relevant contextual information from a data source and

passing that information to the model alongside the user’s input. OpenAI admits that this

information is then used to improve the model’s output by augmenting the model’s base

knowledge. To the extent the allegations of this paragraph purport to cite a publicly available press

release, the full text of that press release speaks for itself. To the extent the allegations of this

paragraph purport to summarize or characterize or are inconsistent with it, OpenAI denies those

allegations. OpenAI denies any remaining allegations of this paragraph.

C.     Response to Defendants’ Unauthorized Use and Copying of the Publishers’ Works

       79.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

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       1.      Response to Unauthorized Reproduction of the Publishers’ Works During GPT
               Model Training

       80.     OpenAI admits that GPT models are large language models. OpenAI admits that

GPT-1 was first launched in 2018, GPT-2 was first launched in 2019, GPT-3 was first launched in

2020, GPT-3.5 was first launched in 2022, and GPT-4 was first launched in 2023. OpenAI denies

the remaining allegations of this paragraph.

       81.     OpenAI admits that pre-training a model involves teaching language to a model by

showing the model a wide range of text, and, utilizing sophisticated statistical and computational

analysis, having it try to predict the next token in each of a vast number of sequences. To the

extent the allegations of this paragraph purport to quote from a publicly available press release,

the full text of that press release speaks for itself. To the extent the allegations of this paragraph

purport to summarize or characterize or are inconsistent with that press release, OpenAI denies

those allegations. OpenAI admits that it has published information about the pre-training process

for GPT models. OpenAI denies any remaining allegations of this paragraph.

       82.     OpenAI admits that GPT-2 is a large transformer-based language model with 1.5

billion parameters. OpenAI admits that GPT-2 was trained using a dataset known as WebText.

OpenAI admits that WebText contains a text subset of outbound links from Reddit, a social media

platform, that received at least 3 karma. To the extent the allegations of this paragraph purport to

quote from publicly available press releases, research papers, or GitHub repositories, the full text

and contents of those press releases, research papers, or GitHub repositories speak for themselves.

To the extent the allegations of this paragraph purport to summarize or characterize or are

inconsistent with those press releases, research papers, or GitHub repositories, OpenAI denies

those allegations. OpenAI denies any remaining allegations of this paragraph.

       83.     OpenAI admits that GPT-3 is an autoregressive language model with 175 billion


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parameters trained on datasets known as Common Crawl (filtered), WebText2, Books1, Books2,

and Wikipedia. To the extent the allegations of this paragraph purport to cite a publicly available

research paper, the full text of that research paper speaks for itself. To the extent the allegations

of this paragraph purport to summarize or characterize or are inconsistent with that research paper,

OpenAI denies those allegations. OpenAI denies any remaining allegations of this paragraph.

       84.     OpenAI admits that WebText2 is an expanded version of the WebText dataset

created by collecting links over a longer period of time. To the extent the allegations of this

paragraph purport to summarize or characterize or are inconsistent with that research paper,

OpenAI denies those allegations. OpenAI denies any remaining allegations of this paragraph.

       85.     OpenAI admits that a filtered Common Crawl dataset had the highest weight in the

training mix for GPT-3. OpenAI lacks knowledge or information sufficient to admit or deny the

allegations of this paragraph about C4 or the Common Crawl organization, and on that basis denies

them. OpenAI denies any remaining allegations of this paragraph.

       86.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about C4, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       87.     To the extent the allegations of this paragraph purport to quote from a publicly

available research paper, the full text of that research paper speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

research paper, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.




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       88.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about “experts,” and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       89.     OpenAI admits that it has used the WebText and WebText2 datasets to train GPT

models. OpenAI admits that it continues to use training datasets to train GPT models. OpenAI

denies the remaining allegations of this paragraph.

       90.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Microsoft Corporation, and on that basis denies them. OpenAI denies the

remaining allegations of this paragraph.

       91.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       92.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       93.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       94.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       95.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,



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and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       2.      Response to Unauthorized Reproductions and Derivatives of the Publishers’
               Works Embodied in the GPT Models and Unauthorized Public Display of the
               Publishers’ Works in GPT Product Outputs

       96.     OpenAI admits that ChatGPT, ChatGPT Plus, and ChatGPT Enterprise are

powered by GPT models. To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       97.     Denied.

       98.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       99.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       100.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       101.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       102.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       103.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       104.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       105.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

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       106.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       107.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       108.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       109.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       110.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       111.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       112.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       113.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       3.      Response to Unauthorized Retrieval and Dissemination of Hot News

       114.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       115.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       116.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

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no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       117.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       118.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       119.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       120.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       121.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       122.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       123.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.



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       124.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       125.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       126.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       127.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       128.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       129.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       130.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       131.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the



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allegations of this paragraph.

       132.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       133.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       134.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       135.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       136.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       137.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       138.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.




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       4.      Response to Willful Infringement

       139.    OpenAI admits that it trained, fine-tuned, and tested GPT models. To the extent

the allegations of this paragraph purport to quote from a publicly available paper, the full text of

that paper speaks for itself. To the extent the allegations of this paragraph purport to summarize

or characterize or are inconsistent with that paper, OpenAI denies those allegations. OpenAI

denies the remaining allegations of this paragraph.

       140.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       141.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

D.     Response to Defendants’ Material Contributions to End-User Infringement

       142.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       143.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       144.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. To the extent the allegations of this paragraph purport to quote a

publicly available blog post, the full text of the blog post speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

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blog post, OpenAI denies those allegations. OpenAI denies the remaining allegations of this

paragraph.

       145.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI lacks knowledge or information sufficient to admit or deny

the allegations of this paragraph about the actions of third parties, and on that basis denies them.

OpenAI denies the remaining allegations of this paragraph.

       146.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       147.    To the extent the allegations of this paragraph purport to quote from a publicly

available press release, the full text of that press release speaks for itself. To the extent the

allegations of this paragraph summarize or characterize or are inconsistent with it, OpenAI denies

those allegations. OpenAI lacks knowledge or information sufficient to admit or deny the

allegations of this paragraph about the actions of third parties, and on that basis denies them.

OpenAI denies the remaining allegations of this paragraph.

       148.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       149.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       150.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.




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       151.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       152.    To the extent the allegations of this paragraph purport to reference a publicly

available document, the full text of the document speaks for itself. To the extent the allegations

of this paragraph purport to summarize or characterize or are inconsistent with that document,

OpenAI denies those allegations. OpenAI denies the remaining allegations of this paragraph.

       153.    OpenAI admits that it aims for its tools to be used safely and responsibly, and that

users agree to usage policies in using its services. OpenAI denies the remaining allegations of this

paragraph.

       154.    To the extent the allegations of this paragraph purport to quote from OpenAI’s

publicly available terms of use, the full text of the terms of use speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with the

terms of use, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.

       155.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       156.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them. OpenAI denies the remaining allegations of this

paragraph.

E.     Response to Defendants’ Removal of Copyright Management Information from the
       Publishers’ Works

       157.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.


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       158.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       159.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them. OpenAI denies the remaining allegations of this

paragraph.

       160.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them. OpenAI denies the remaining allegations of this

paragraph.

       161.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them. To the extent the allegations of this paragraph

purport to quote from a publicly available research paper, the full text of that research paper speaks

for itself. To the extent the allegations of this paragraph purport to summarize or characterize or

are inconsistent with that research paper, OpenAI denies those allegations. OpenAI denies the

remaining allegations of this paragraph.

       162.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       163.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them. OpenAI denies the remaining allegations of this

paragraph.



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       164.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them. OpenAI denies the remaining allegations of this

paragraph.

       165.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       166.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       167.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them. OpenAI denies the remaining allegations of this

paragraph.

       168.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them. To the extent the allegations of this paragraph

purport to quote from OpenAI’s publicly available terms of use, the full text of the terms of use

speaks for itself. To the extent the allegations of this paragraph purport to summarize or

characterize or are inconsistent with the terms of use, OpenAI denies those allegations. OpenAI

lacks knowledge or information sufficient to admit or deny the allegations of this paragraph about

purported ChatGPT outputs, and on that basis denies them. OpenAI denies the remaining

allegations of this paragraph.

       169.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny the allegations



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of this paragraph, and on that basis denies them. OpenAI denies the remaining allegations of this

paragraph.

F.      Response to Hallucinations Falsely Attributed to the Publishers

        170.   To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

        171.   OpenAI lacks knowledge or information about the allegations of this paragraph

about a third party’s use of ChatGPT, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

        172.   OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        173.   OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        174.   OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        175.   OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        176.   Denied.

G.      Response to Profit to Defendants

        177.   To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.




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        178.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

        179.    OpenAI admits that ChatGPT had more than 100 million users across 185 countries

as of April 2024. OpenAI admits that it offers a subscription plan, called ChatGPT plus, available

for $20 per month. OpenAI denies any remaining allegations of this paragraph.

        180.    To the extent the allegations of this paragraph purport to cite a publicly available

news article, the full text of that news article speaks for itself. To the extent the allegations of this

paragraph purport to summarize or characterize or are inconsistent with that news article, OpenAI

denies those allegations.

        181.    OpenAI admits that Microsoft invested $1 billion in OpenAI in 2019. OpenAI

admits that Microsoft has made additional investments in OpenAI. OpenAI admits that its current

valuation is more than $80 billion. OpenAI denies any remaining allegations of this paragraph.

        182.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies any remaining allegations of this paragraph.

        183.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies any remaining allegations of this paragraph.

H.      Response to Harm to the Publishers

        184.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs and their readers, and on that basis denies them. OpenAI denies

the remaining allegations of this paragraph.



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       185.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       186.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       187.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiffs, and on that basis denies them. OpenAI denies the remaining

allegations of this paragraph.

       188.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       189.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

              Response to COUNT I: Copyright Infringement (17 U.S.C. § 501)

                     On Behalf of the Publishers Against All Defendants
       190.    This paragraph incorporates by reference the preceding factual allegations, and thus

no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–189.

       191.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       192.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.


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       193.   Denied.

       194.   Denied.

       195.   Denied.

       196.   Denied.

       197.   To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them. OpenAI denies the remaining allegations of this

paragraph.

       198.   To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       199.   To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       200.   Denied.

       201.   Denied.

                 Response to COUNT II: Vicarious Copyright Infringement

  On Behalf of the Publishers Against Microsoft, OpenAI, Inc., OpenAI, GP, OpenAI LP,
                                 OAI Corporation, LLC,
                    OpenAI Holdings, LLC, and OpenAI Global, LLC

       202.   This paragraph incorporates by reference the preceding factual allegations, and thus

no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–201.




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       203.   To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies any remaining allegations of this paragraph.

       204.   To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       205.   Denied.

       206.   To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

              Response to COUNT III: Contributory Copyright Infringement

                        On Behalf of the Publishers Against Microsoft

       207.   This paragraph incorporates by reference the preceding factual allegations, and thus

no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–206.

       208.   The allegations of this paragraph relate to a claim that has not been alleged against

OpenAI, and thus no response is required. To the extent a response is deemed required, OpenAI

lacks knowledge or information sufficient to admit or deny the allegations about Microsoft

Corporation, and on that basis denies them.

       209.   The allegations of this paragraph relate to a claim that has not been alleged against

OpenAI, and thus no response is required. To the extent a response is deemed required, OpenAI

lacks knowledge or information sufficient to admit or deny the allegations about Microsoft

Corporation, and on that basis denies them.



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       210.   The allegations of this paragraph relate to a claim that has not been alleged against

OpenAI, and thus no response is required. To the extent a response is deemed required, OpenAI

lacks knowledge or information sufficient to admit or deny the allegations about Microsoft

Corporation, and on that basis denies them.

              Response to COUNT IV: Contributory Copyright Infringement

                     On Behalf of the Publishers Against All Defendants

       211.   This paragraph incorporates by reference the preceding factual allegations, and thus

no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–210.

       212.   To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       213.   To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       214.   To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

    Response to COUNT V: Digital Millennium Copyright Act – Removal of Copyright
                    Management Information (17 U.S.C. § 1202)

                     On Behalf of the Publishers Against All Defendants

       215.   This paragraph incorporates by reference the preceding factual allegations, and thus

no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–214.


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       216.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       217.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       218.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       219.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       220.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       221.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       222.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       223.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.



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       224.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       225.    Denied.

     Response to COUNT VI: Common Law Unfair Competition By Misappropriation

                      On Behalf of the Publishers Against All Defendants

       226.    This paragraph incorporates by reference the preceding factual allegations, and thus

no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–225.

       227.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       228.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       229.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       230.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       231.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.



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       232.     The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

              Response to COUNT VII: Trademark Dilution (15 U.S.C. § 1125(c))

On Behalf of Daily News, LP; Chicago Tribune Company, LLC; San Jose Mercury-News,
              LLC; and DP Media Network, LLC Against All Defendants


       233.     This paragraph incorporates by reference the preceding factual allegations, and thus

no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–232.

       234.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       235.     Denied.

       236.     Denied.

       237.     Denied.

       238.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       239.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       240.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       241.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       242. OpenAI lacks knowledge or information sufficient to admit or deny the allegations of

this paragraph, and on that basis denies them.

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       243.   Denied.

       244.   Denied.

       245.   Denied.

       246.   Denied.

       247.   Denied.

       248.   Denied.

       249.   Denied.

           Response to COUNT VIII: Dilution and Injury to Business Reputation
                            (N.Y. Gen. Bus. Law § 360-l)

On Behalf of Daily News, LP; Chicago Tribune Company, LLC; San Jose Mercury-News,
              LLC; and DP Media Network, LLC Against All Defendants

       250.   This paragraph incorporates by reference the preceding factual allegations, and thus

no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–249.

       251.   Denied.

       252.   Denied.

       253.   Denied.

       254.   Denied.




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                                     PRAYER FOR RELIEF

       In response to the prayer for relief, OpenAI denies that Plaintiffs are entitled to the

requested relief, or to any relief whatsoever, including because Plaintiffs have suffered no injury

sufficient to confer standing to bring any claim for relief.

                                  DEMAND FOR JURY TRIAL

       With respect to the jury demand contained in the Complaint, OpenAI states that no

response is required. To the extent a response is deemed required, OpenAI denies that Plaintiffs’

claims are properly triable to a jury.

                                   AFFIRMATIVE DEFENSES

       In further answer to the allegations made by Plaintiffs in the Complaint, OpenAI asserts

the following affirmative defenses. OpenAI does not concede that it has the burden of proof on

the defenses listed below.

                               FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs do not own or hold

exclusive rights under 17 U.S.C. § 106 or any copyright law over each work that was allegedly

infringed by OpenAI.

                             SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because the copyright registrations

purporting to cover some or all of the works in dispute are invalid and do not satisfy the

requirements of 17 U.S.C. § 411–412.

                               THIRD AFFIRMATIVE DEFENSE

       To the extent there is copying of copyrightable expression, that copying constitutes fair

use.



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                                FOURTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by the doctrines of copyright misuse and

unclean hands.

                                  FIFTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have suffered no

provable injury as a result of the challenged conduct, which inter alia precludes relief under 17

U.S.C. § 1203(a).

                                  SIXTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims fail in whole or in part because the complained-of use was validly

licensed by express or implied license.

                                SEVENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred in whole or in part by the doctrines of waiver, abandonment,

and/or forfeiture.

                                 EIGHTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by the doctrine of laches.

                                  NINTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by the doctrine of estoppel.

                                 TENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims fail in whole or in part because OpenAI’s conduct was innocent, not

willful.

                               ELEVENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ remedies are barred at least in part by the applicable statutes of limitations.




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                           TWELFTH AFFIRMATIVE DEFENSE

       Plaintiffs are barred from recovery of damages because of and to the extent of its failure to

mitigate its alleged damages (to which, in any event, they are not entitled).

                         THIRTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, to the extent they claim rights to elements

of works or to works which are not protectable under copyright law, or that are in the public

domain, lack the requisite originality, are unregistered, or are works to which copyright protection

has been abandoned.

                           FOURTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims of copyright infringement are barred or limited by the doctrine of

merger.

                           FIFTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims of copyright infringement are barred or limited by the idea/expression

dichotomy.

                           SIXTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims of copyright infringement are barred or limited because the material in

which Plaintiffs claim copyright constitutes “scènes à faire.”

                        SEVENTEENTH AFFIRMATIVE DEFENSE

       To the extent there is copying of copyrightable expression, that copying is de minimis.

                         EIGHTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims of copyright infringement are barred or limited because the material in

which Plaintiffs claim copyright constitutes unprotectible facts.




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                          NINETEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims fail, in whole or in part, because the allegedly violative conduct was

innocent pursuant to 17 U.S.C. § 1203(c)(5)(A).

                          TWENTIETH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims fail, in whole or in part, for failure to state a claim.

                        TWENTY-FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because the acts alleged in the First

Amended Complaint are not an infringement of copyright, including because the alleged acts are

fair use and/or de minimis, and/or because copyright protection is barred by the doctrine of merger,

the doctrine of scène à faire, or the idea/expression dichotomy.

                       TWENTY-SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because OpenAI reasonably believed that

the acts alleged in the First Amended Complaint were not an infringement of copyright, including

because the alleged acts are fair use and/or de minimis, and/or because copyright protection is

barred by the doctrine of merger, the doctrine of scènes à faire, and/or the idea/expression

dichotomy.

                        TWENTY-THIRD AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because OpenAI did not know or have

reasonable grounds to know that the acts alleged in the First Amended Complaint were an

infringement of copyright, including because the alleged acts are fair use and/or de minimis, and/or

because copyright protection is barred by the doctrine of merger, the doctrine of scènes à faire,

and/or the idea/expression dichotomy.




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                      TWENTY-FOURTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs are not entitled to

injunctive relief (temporarily, preliminarily, or permanently), including because any injury to it is

not immediate or irreparable, Plaintiffs would have an adequate remedy at law, the balance of

hardships favors no injunction, and the public interest is best served by no injunction.

                        TWENTY-FIFTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because any reproduction, distribution, or

display of any allegedly infringing outputs, or copies allegedly made in the generative search

process, were caused by the acts or omissions of other persons or entities for whose conduct

OpenAI is not legally responsible.

                        TWENTY-SIXTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because they are barred by the safe harbor

provisions of the Digital Millennium Copyright Act, 17 U.S.C. § 512 (a)-(d).

                      TWENTY-SEVENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because all of the models accused of

infringement, and all of OpenAI’s products and services offered in connection with those accused

models, are capable of substantial non-infringing uses.

                       TWENTY-EIGHTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ allegations do not

demonstrate a cognizable trademark use.

                        TWENTY-NINTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ alleged trademarks are

not famous, or inherently distinctive, and have not acquired secondary meaning.



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                           THIRTIETH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because their marks are not sufficiently

famous or distinctive to warrant protection under federal or state dilution laws.

                          THIRTY-ONE AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, based on the doctrine of fair use as the

asserted trademarks are descriptive and do not serve as source identifiers.

                        THIRTY-SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because OpenAI has not, directly or

indirectly, willfully or innocently, diluted Plaintiffs’ trademarks.

                         THIRTY-THIRD AFFIRMATIVE DEFENSE

       Plaintiffs’ claim for damages is barred by the Eighth and Fourteenth Amendments to the

U.S. Constitution.

                        THIRTY-FOURTH AFFIRMATIVE DEFENSE

       OpenAI reserves all affirmative defenses under Rule 8(c) of the Federal Rules of Civil

Procedure, and any other defenses at law or in equity, that may now exist or in the future become

available based on discovery and further factual investigation.




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